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                            United States District Court
                            Eastern District of Michigan

United States of America,                    Criminal No. 10-20123

            Plaintiff,                       Honorable Victoria A. Roberts
vs.

D-l   David Brian Stone,
D-2   David Brian Stone, Jr.,
D-3   Joshua Matthew Stone,
D-4   Tina Mae Stone,
D-6   Michael David Meeks,
D-7   Thomas William Piatek, and
D-8   Kristopher T. Sickles,

            Defendants.


                           Trial Memorandum
                 Regarding Repetitious Cross Examination



      The United States requests that cross-examination be controlled by limiting

repetitious cross-examinations of government witnesses, including repetition by one

defense counsel of matters already covered in the examination by other defense

counsel.

      Fed.R.Evid. provides in part that:

      (a) Control by the court; Purposes. The court should exercise
      reasonable control over the mode and order of examining witnesses
      and presenting evidence so as to:
            (1) make those procedures effective for determining the
            truth;
            (2) avoid wasting time; and
            (3) protect witnesses from harassment or undue
            embarrassment.
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      The Sixth Circuit has stated that the district court has wide discretion with

regard to curtailing a criminal defendant’s repetitive cross-examination of a

government witness. United States v. Slone, 833 F.2d 595, 600 (6th Cir. 1987).

“[S]ince the extent of cross-examination is within the trial judge’s sound discretion,

the judge may reasonably determine when a subject is exhausted.” Id. at 601, citing

United States v. Touchstone, 726 F.2d 1116, 1122 (6th Cir. 1984); accord, United

States v. Davis, 2010 WL 114196 at **3 (6th Cir. 2010).

      Thus the court may appropriately control repetitious cross-examination

where a subject matter has been exhausted. United States v. Praetorius, 622 F.2d

1054, 1061 (2d Cir. 1979); United States v. Caudle, 606 F.2d 451, 458 (4th Cir.

1979); United States v. Markham, 537 F.2d 187 (5th Cir. 1976).

      This principle extends to repetition by counsel of a cross-examination subject

that has previously been exhausted by counsel for a codefendant. Thus in United

States v. Praetorius, supra, counsel for one defendant began his cross-examination

with a subject matter that had been previously covered by another defendant’s

lawyer. The district court stopped the inquiry, saying “Don’t go through it again,

please. We have been through that one once.” The court of appeals found that this

was not an abuse of discretion. 622 F.2d at 1061. Accord, United States v. Miller,

463 F.2d 600, 601 (1st Cir. 1972):

             At various times throughout the trial as many as six
             defense attorneys participated in the cross-examination of
             individual prosecution witnesses. In order to curb
             repetitive questioning the district court instructed that


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             once a topic had been pursued on cross-examination,
             repetitive questioning on the same subject would not be
             permitted.

                                      *     *   *

             The trial was handled both judiciously and expeditiously,
             and the curb on needless repetition was well within the
             court’s discretion.

Id. at 601-02.

      The court has the discretion to control cross-examination to prevent it from

unduly burdening the record with cumulative or irrelevant material and to limit it

to avoid extensive and time-wasting exploration of collateral matters. United States

v. Weines, 578 F.2d 757, 766 (9th Cir. 1978).

      Thus we request this court to exercise is discretion to limit repetitive cross-

examination in accordance with these principles.

                                          Respectfully submitted,

                                          BARBARA L. McQUADE
                                          United States Attorney

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Dated: February 26, 2012




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                              Certificate of Service

       I hereby certify that on February 26, 2012, I electronically filed the foregoing
document with the Clerk of the Court using the ECF system, which will send
notification of such filing to the following:

      Richard Helfrick, Esq.
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                                               s/ Sheldon N. Light
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